                IN THE UNITED STATES DISTRICT COURT
                  THE EASTERN DISTRICT OF VIRGINIA

                                Alexandria Division

UNITED STATES OF AMERICA
                                               No. l:19-cr-127
      V.



LOURDES TERRAZAS SILES,                        Hon.Leonie M.Brinkema
      Defendant.
                                               Motions Hr'g: June 7, 2019


           CONSENT MOTION TO CONTINUE MOTIONS HEARING


      The defense has filed a motion to dismiss this case on statute of Hmitations

grounds or, alternatively, under 8 U.S.C. § 1326(d) because the underlying removal

order was invalid. See Def. Motion, Dkt. No. 22(May 17, 2019). In response to the §

1326(d) argument, the government has pointed to 8 U.S.C. § 1225(b)(1)(D), which

purpox'ts to divest courts of jurisdiction to hear a collateral attack in certain cases,

including, according to the government, this one. See Govt. Resp., Dkt. No. 23, at 5-

7(May 31, 2019). This constitutional question was recently confronted and resolved

in favor of the defense in United States u. Silva, 313 F. Supp. 3d 660, 669(E.D. Va.

2018)(Lauck, J.), which held § 1225(b)(1)(D) unconstitutional in a similarly postured

case. Indeed,§ 1225(b)(1)(D), if given the effect the goveriunent seeks, would deprive

a large swath ofremoved non-citizens from any meaningful review ofa critical factual

element in o criminal proceeding under § 1326. The Supreme Court has opined that
